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                               UNITED STATES DISTRICT COURT
 6                           SOUTHERN DISTRICT OF CALIFORNIA
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     KENDALL SCALLY, individually and on                Case No.: 3:16-cv-01992-WQH-WVG
 8   behalf of others similarly situated,
 9                                                      ORDER UPON JOINT MOTION TO DISMISS
                      Plaintiff,                        INDIVIDUAL CLAIMS WITH PREJUDICE,
10                                                      PUTATIVE CLASS CLAIMS WITHOUT
              vs.                                       PREJUDICE
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     DITECH FINANCIAL LLC.
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                      Defendant.
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17          PLEASE TAKE NOTICE, the Parties to this matter, Plaintiff KENDALL SCALLY
18   (“Plaintiff”) and Defendant DITECH FINANCIAL LLC (“Defendant”), have filed a joint motion to
19   dismiss this matter. The Parties have indicated that the individual claims filed are to be dismissed
20   WITH prejudice, and the putative class claims are to be dismissed WITHOUT prejudice, and that each
21   Party is to bear its own costs and fees.
22          For good cause shown, the Parties’ motion is GRANTED.
23   IT IS SO ORDERED.
24   Dated: August 10, 2018
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